                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 1 of 12



            1   HAGENS BERMAN SOBOL SHAPIRO LLP               BLOOD HURST & O’REARDON, LLP
                STEVE W. BERMAN (Pro Hac Vice)                TIMOTHY G. BLOOD (149343)
            2   THOMAS E. LOESER (202724)                     THOMAS J. O’REARDON II (247952)
                1918 Eighth Avenue, Suite 330                 PAULA R. BROWN (254142)
            3   Seattle, WA 98101                             701 B Street, Suite 1700
                Tel: 206/623-7292                             San Diego, CA 92101
            4   206/623-0594 (fax)                            Tel: (619) 338-1100
                steve@hbsslaw.com                             619/338-1101 (fax)
            5   toml@hbsslaw.com                              tblood@bholaw.com
                                                              toreardon@bholaw.com
            6   LAW OFFICE OF PETER FREDMAN                   pbrown@bholaw.com
                PETER B. FREDMAN (189097)
            7   125 University Ave., Suite 102
                Berkeley, CA 94710
            8   Tel: 510/868-2626
                510/868-2627 (fax)
            9   peter@peterfredmanlaw.com

           10   Class Counsel

           11                             UNITED STATES DISTRICT COURT
           12         NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
           13   PHILLIP R. CORVELLO, On Behalf of            Case No. 4:10-CV-05072-VC
                Himself and All Others Similarly Situated,
           14                                                DECLARATION OF TIMOTHY G.
                             Plaintiff,
                                                             BLOOD IN SUPPORT OF MOTION FOR
           15         v.                                     PRELIMINARY APPROVAL OF CLASS
                                                             ACTION SETTLEMENT
           16   WELLS FARGO BANK N.A. d/b/a                  CLASS ACTION
                WELLS FARGO HOME MORTGAGE
           17   d/b/a AMERICA’S SERVICING                    Judge:      Honorable Vince Chhabria
                COMPANY,                                     Courtroom: 4, 17th Floor
           18
                            Defendant.                       Date Filed:  November 9, 2010
           19

           20   AMIRA JACKMON, individually, and on          Case No. 3:11-cv-03884-VC
                behalf of others similarly situated,
           21
                               Plaintiff,
           22           v.
           23   AMERICA’S SERVICING COMPANY
                and WELLS FARGO BANK, N.A.,                  Date Filed:   August 8, 2011
           24
                           Defendant.
           25

           26
           27

           28
                                                                          Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 2 of 12



            1          I, TIMOTHY G. BLOOD, declare as follows:

            2          1.      I am an attorney duly licensed to practice before all courts of the State of

            3   California and am admitted to practice in this Court. I am the managing partner at Blood Hurst

            4   & O’Reardon, LLP, one of the Class Counsel in Phillip Corvello v. Wells Fargo Bank, N.A.,

            5   No. 10-cv-05072-VC (“Corvello Action”) and Amira Jackmon v. America’s Servicing

            6   Company, et al., 11-cv-03884-VC (“Jackmon Action”) (together, the “Action” or

            7   “Litigation”). I have personal knowledge of the matters stated herein and, if called upon, I

            8   could and would competently testify thereto. I submit this declaration in support of Plaintiffs’

            9   Motion for Preliminary Approval of Class Action Settlement.

           10          2.      A copy of the Stipulation and Class Action Settlement (the “Settlement” or

           11   “Agreement”) is attached hereto as Exhibit A. A copy of the proposed Order Granting

           12   Preliminary Approval is attached hereto as Exhibit B. The proposed order is also Exhibit 3 to

           13   the Settlement Agreement.

           14          3.      This Litigation has been hard-fought from the very beginning. The Settlement

           15   was reached after intense litigation spanning nearly seven years, a trip to the Ninth Circuit

           16   resulting in a published ruling reversing an order granting Wells Fargo’s motion to dismiss,

           17   extensive discovery that included 26 depositions, a successful motion for class certification,

           18   successful opposition to Wells Fargo’s Rule 23(f) petition, preparation of expert reports and

           19   discovery of the experts, summary judgment, and trial preparation.

           20                         INITIATION OF THE CORVELLO ACTION
           21                            AND THE NINTH CIRCUIT APPEAL

           22          4.      The Corvello Action was filed on November 9, 2010. (Corvello ECF No. 1).

           23   Wells Fargo filed a motion to dismiss the Corvello Action in its entirety. (Corvello ECF No.

           24   13). The parties fully briefed the motion, and presented oral argument on February 4, 2011. On

           25   April 22, 2011, the Hon. Jeffrey S. White granted Wells Fargo’s motion, dismissing Corvello

           26   in its entirety with prejudice. (Corvello ECF No. 35).
           27          5.      Corvello timely appealed the dismissal to the Ninth Circuit. After full briefing

           28   and oral argument, on August 8, 2013, the Ninth Circuit reversed the dismissal and remanded

                                                               1          Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 3 of 12



            1   the case to this Court. See Corvello v. Wells Fargo Bank, N.A., 728 F.3d 878 (9th Cir. 2013).

            2           6.     On March 22, 2016, Corvello filed a motion for leave to file an amended

            3   complaint to a claim for violation of the Rosenthal Fair Debt Collection Practices Act, Cal.

            4   Civil Code §§1788, et seq. (“Rosenthal Act”). (Corvello ECF No. 132). On April 5, 2016,

            5   Wells Fargo filed its opposition to the motion for leave. (Corvello ECF No. 139). On April 7,

            6   2016, in connection with the hearing on the contested motion for approval of notice of

            7   pendency of the class action, the Court granted Plaintiff’s motion for leave. (Corvello ECF No.

            8   140).

            9                                     THE JACKMON ACTION
           10           7.     On August 8, 2011, Plaintiff Jackmon filed an individual complaint, which was

           11   amended on September 23, 2011, to include class allegations similar to those in the Corvello

           12   Action. (Jackmon ECF No. 36). The Court stayed the Jackmon Action while Corvello was

           13   pending before the Ninth Circuit.

           14           8.     On November 13, 2014, the Corvello and Jackmon Actions became “related”

           15   and the Actions were litigated together (collectively, the “Litigation”).

           16           9.     After the successful appeal in Corvello, the district court found Jackmon, Lucia

           17   v. Wells Fargo Bank and Corvello actions related and assigned the cases to Judge White.

           18                 RELATED ACTIONS: SUMMARY OF DISCOVERY EFFORTS
           19           10.    Written Discovery and Document Requests: In total, Plaintiff Corvello
           20   served 70 document requests, 15 interrogatories, and 7 requests for admissions. In total,

           21   Plaintiff Jackmon served four 30(b)(6) deposition notices totaling 71 categories of examination

           22   and including 11 categories of document requests, three sets of interrogatories totaling 53

           23   interrogatories, and three sets of documents requests totaling 38 requests. In the course of

           24   discovery, and following extensive negotiation of a protocol for the production of

           25   electronically stored information, Wells Fargo produced approximately 92,000 pages of

           26   documents. Class Counsel coded and analyzed these documents on dedicated document
           27   database systems.

           28

                                                                2         Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 4 of 12



            1          11.    Wells Fargo Fact Witness and Rule 30(b)(6) Depositions: Class Counsel also
            2   took 12 depositions of Wells Fargo’s current and former employees and corporate designees.

            3   These depositions included defendant’s Head of Wells Home Lending Customer Excellence

            4   (information relating to Wells Fargo’s initial participation in and implementation of HAMP,

            5   including high-level Treasury communications), Business Initiatives Senior Manager

            6   (information relating to Wells Fargo’s implementation of HAMP during the class period),

            7   Collections Manager (information regarding the management and operation of the Collections

            8   Department with respect to HAMP, including placing borrowers on HAMP TPPs during the

            9   class period), Wells Fargo’s SVP Default Decisioning (led HAMP teams at Wells Fargo in

           10   2009 and Wells Fargo’s HAMP program office in 2010), and the SVP Default Technology

           11   Systems (was the HAMP technology leader):

           12                         DATE                    DEPONENT
                                      8/24/14                 Paul Brown
           13                         9/16/14                 Kerri Crabtree
                                      12/11/14                Mario Nardi
           14                         5/11/15                 Ronnie Rittenhouse
                                      5/12/15                 Ben Windust
           15                         5/29/15                 Jeremy Vaught
                                      9/8/16                  Ridge Hottle
           16                         9/14/16                 Alan Kuspa
                                      9/15/16                 Jean Larson
           17                         9/29/16                 Robert Caruso
                                      10/14/16                Mary Coffin
           18
                                      1/18/17                 Jeremy Vaught
           19          12.    Discovery Conducted by Wells Fargo: Wells Fargo also conducted
           20   substantial discovery of Plaintiffs. Wells Fargo served interrogatories, and several sets of
           21   document requests, and deposed each Plaintiff. At various times throughout the Litigation,
           22   Plaintiffs searched for and produced supplemental documents and information in response to
           23   Wells Fargo’s continuing discovery requests. Mr. Corvello provided Wells Fargo with
           24   substantial documentation, including highly sensitive tax returns, bank statements, and income
           25   documentation.
           26          13.    Summary of Plaintiff Corvello’s Efforts: Consistently throughout the
           27   Litigation, attorneys and profession staff from my office met and otherwise communicated
           28   with Mr. Corvello to keep him informed about the Litigation, obtain his assistance in

                                                              3           Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 5 of 12



            1   responding to discovery requests, assist us in investigating various factual aspects of the case

            2   and prepare him for his deposition, which my firm defended. I have found Mr. Corvello to be

            3   an exemplary named plaintiff. He has always been ready, willing and able to assist, has

            4   remained interested in the case and devoted to his role as class representative and has

            5   consistently professed a desire to act in the best interests of the Class. He has been very

            6   involved in the litigation and has maintained consistent contact with my firm (particularly with

            7   my partner, Thomas O’Reardon), throughout the Litigation. Mr. Corvello has received

            8   monthly and at times weekly updates on the Litigation. Between making himself available for

            9   strategy calls and case updates at our request, and initiating calls himself, Mr. Corvello has

           10   participated in dozens of calls throughout this Litigation. He has also made substantial efforts

           11   to maintain contact through email. For example, since October 2011, my office has exchanged

           12   over 200 emails with Mr. Corvello in furtherance of the Litigation. Mr. Corvello has

           13   repeatedly checked for and provided updated documents in response to Wells Fargo’s

           14   discovery requests and Class Counsel’s own investigation, including through efforts he made

           15   himself at his bank, with his employer, and through the IRS. Over the course of the Litigation,

           16   Mr. Corvello has driven several hundred miles to deliver documents, fax documents, and

           17   attend appointments in furtherance of the Litigation. Mr. Corvello was committed to testifying

           18   at trial in support of his own individual claims and of those of the Class.

           19          14.     Summary of Plaintiff Jackmon’s Efforts: On May 27, 2011, Wells Fargo
           20   foreclosed on the Ms. Jackmon’s property and proceeded to evict her. On August 8, 2011, she

           21   filed this action in pro se along with a motion for a temporary restraining order and

           22   preliminary injunction to prevent her post-foreclosure eviction. See Jackmon ECF No. 1-2. On

           23   August 22, 2011, the Court granted the preliminary injunction on the grounds that “serious

           24   questions going to the merits of whether Defendants breached the [HAMP TPP]”. See Prelim.

           25   Inj. Order at 3 (Jackmon ECF No. 21). The Court also invited Plaintiff to file an amended

           26   complaint. Id. at 4. At that point, plaintiff retained class counsel and agreed to have the case
           27   proceed as a class action on behalf of all persons similarly situated pursuant to her first

           28   amended complaint filed September 23, 2011. See ECF No. 36. She has served tirelessly as a

                                                                 4        Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 6 of 12



            1   class representative for nearly six years now.

            2             15.   Absent Class Member Communications and Depositions: During the course
            3   of the Litigation, Class Counsel communicated with many dozens of potential Class Members

            4   who called and wrote in response to class certification and general news articles about the

            5   Litigation. Class Counsel collected and analyzed documents and other information from these

            6   potential Class Members, including information related to Wells Fargo’s servicing of their

            7   loans, Wells Fargo’s Trial Period Plan (“TPP”) offers, and the denial of permanent Home

            8   Affordable Modification Program (“HAMP”) modifications. Class Counsel listed some of

            9   these absent Class Members on Plaintiffs’ witness list disclosures and Wells Fargo deposed

           10   four of them. Class Counsel met with each of the absent Class Members, spoke with them on

           11   several occasions, and defended each of their depositions. Class Counsel were prepared to call

           12   these witnesses at trial.

           13             16.   Expert Discovery Efforts: The Parties also engaged in substantial expert
           14   discovery. Seven experts prepared Rule 26 reports and were deposed on matters relating to the

           15   Certified Claims. In support of the Certified Claims, Plaintiffs retained three experts who

           16   provided written reports and deposition testimony, including relating to HAMP’s

           17   requirements, reasonable borrower behavior, the meaning of the TPP to the least sophisticated

           18   borrower, and damages, including Class Member payment-data analysis. Plaintiffs’ experts

           19   were each highly qualified in their fields. One expert was appointed by the California Attorney

           20   General as the California Monitor of the National Mortgage Settlement, and another was the

           21   in-house marketing expert for the Bureau of Consumer Protection at the Federal Trade

           22   Commission. The latter expert conducted a large consumer survey for this Litigation. Wells

           23   Fargo also retained four experts. These experts each provided written reports and were

           24   deposed. Their testimony included matters relating to HAMP’s requirements, Treasury’s

           25   intentions, TPP interpretation, and Class Member payment-data analysis.

           26   ///
           27   ///

           28   ///

                                                                 5            Case No. 3:10-cv-05072-VC
                                                                              Case No. 3:11-cv-03884-VC
00122736              BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 7 of 12



            1                                RELATED ACTIONS:
                                CLASS CERTIFICATION AND NOTICE OF PENDENCY
            2

            3             17.   Class certification was heavily contested. Following full briefing and oral

            4   argument, each party submitted two supplemental briefs. (Corvello ECF Nos. 75, 89, 97, 103-

            5   104, 124, 129, 136). Plaintiffs sought certification of a nationwide, or in the alternative, a

            6   California-only class for breach of contract. They also sought certification of a California class

            7   for claims under the Rosenthal Fair Debt Collection Practices Act, Cal. Civil Code §§1788, et

            8   seq. (“Rosenthal Act”), California Business & Professions Code §17200, et seq. (the “UCL”),

            9   and for rescission of the TPP pursuant to Cal. Civ. Code §1689. The motion was fully briefed

           10   and again heavily contested. On October 2, 2015, the Court held oral argument concerning the

           11   motion for class certification. Following oral argument, the Court requested and the parties

           12   provided additional briefing.

           13             18.   On January 29, 2016, the Court issued an order granting in part and denying in

           14   part the motion for class certification. (Corvello ECF No. 114). The Court granted certification

           15   of the Rosenthal Act claim and the unlawful prong of the UCL, but denied certification of the

           16   breach of contract claim and for rescission of the TPP or restitution of the TPP payments. In

           17   March 2016, the Parties submitted supplemental briefing about the scope of the certified

           18   claims and the Class. (Corvello ECF Nos. 124, 129, 136). The Plaintiffs requested that the

           19   Court also certify claims under the UCL’s unfair and fraudulent prongs. As a result of this

           20   briefing, on April 18, 2016, the Court certified Plaintiffs’ claims under all three prongs of the

           21   UCL (the UCL and Rosenthal Act claims are the “Certified Claims”). (Corvello ECF No. 144).

           22             19.   Following the supplemental order on class certification, Wells Fargo filed a

           23   petition for leave to appeal pursuant to Fed. R. Civ. P. 23(f). (Corvello/Jackmon, Ninth Circuit

           24   Case No. 16-80057, ECF No. 1). On May 11, 2016, Plaintiffs filed their answer to the petition.

           25   (Id., ECF No. 2.). The Ninth Circuit denied the petition to appeal on July 25, 2016. (Id., ECF

           26   No. 3).

           27             20.   Plaintiffs’ motion approval of a class notice plan was also contested and

           28   required extensive briefing. (Corvello ECF Nos. 125, 130, 134). By order dated April 18,

                                                                6         Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 8 of 12



            1   2016, which followed oral argument on the motion for class notice, the Court issued a

            2   supplemental order on class certification and requested that the Parties submit a revised class

            3   notice for the Court’s consideration. (Corvello ECF No. 144). Thereafter, the Parties submitted

            4   a revised class notice proposal, which the Court approved on June 9, 2016. (Corvello ECF

            5   Nos. 160-161).

            6            21.      On or about June 28, 2016, the Court-appointed class notice administrator,

            7   Garden City Group (“GCG”), mailed the approved class notice to the addresses associated

            8   with the 11,524 loans that comprise the Class members’ loans. This is the same Class that is

            9   defined in the Settlement Agreement. Eighteen Class Members timely opted out of the Class.

           10   In connection with the notice of pendency, the claims administrator established and continues

           11   to     maintain      a   website    specifically       for   this   Litigation   (www.Corvello-

           12   JackmonHAMPClassAction.com) where Class Members can obtain documents and other

           13   information relating to the Action. The address for the Case Website was listed prominently on

           14   the class notice mailed to Class Members, and the Case Website has remained active. This

           15   website, which is already known to Class Members, will continue to be used for the proposed

           16   Settlement.

           17                               RELATED ACTIONS:
           18                  WELLS FARGO’S MOTION FOR SUMMARY JUDGMENT

           19            22.      On January 27, 2017, Wells Fargo filed a Motion for Summary Judgment on

           20   the Certified Claims, as well as the remaining individual claims brought by both Plaintiffs.

           21   (Corvello ECF No. 173; see also id. at ECF Nos. 178 and 186 (opposition and reply briefing)).

           22            23.      On March 13, 2017, Wells Fargo also moved to exclude the opinions and

           23   testimony of one of Plaintiffs’ experts, Professor Katherine Porter. Plaintiffs submitted their

           24   opposition on April 6, 2017. (Corvello ECF No. 188; see also id. at ECF Nos. 197-198

           25   (opposition and reply briefing).

           26            24.      On May 4, 2017, the Court issued an Order on Summary Judgment in both
           27   Actions, entering summary judgment in Wells Fargo’s favor as to Plaintiffs’ UCL claims,

           28   denying the Motion as to Plaintiffs’ Rosenthal Act claims, and denying the Motion as to

                                                                   7         Case No. 3:10-cv-05072-VC
                                                                             Case No. 3:11-cv-03884-VC
00122736             BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                 Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 9 of 12



            1   Plaintiffs’ individual claims, without prejudice. The Court also found Class Members could

            2   not recover their TPP payments. (Corvello ECF No. 203). Thus, the Class was left with only a

            3   claim for a maximum award of $500,000 in statutory damages under the Rosenthal Act to be

            4   shared among all Class Members.

            5          25.     The Court deferred ruling on Wells Fargo’s motion to exclude Professor

            6   Porter’s testimony until the pretrial conference. (Corvello ECF No. 203).

            7                         RELATED ACTIONS: TRIAL PREPARATION
            8          26.     The Parties also have been preparing for the June 5, 2017, trial. By the time of

            9   the order on summary judgment, the Parties had exchanged proposed jury instructions,

           10   motions in limine, and exhibit and witness lists.

           11          27.     On May 3, 2017, Class Counsel sent Wells Fargo 74 pages of proposed jury

           12   instructions, replete with legal citations and support for their instructions. Plaintiffs also sent

           13   Wells Fargo five motions in limine, including motions to exclude certain expert testimony and

           14   to exclude reference to potentially prejudicial evidence about HAMP qualifications, Treasury’s

           15   involvement in HAMP and approval of the TPP form, and so-called “benefits” of extended

           16   occupancy provided to Class Members by virtue of the TPP.

           17          28.     Wells Fargo also served five motions in limine on plaintiffs and the Class. One

           18   of them sought to exclude Professor Porter’s testimony at trial. Thus, there continued to be

           19   substantial risks for Plaintiffs even following the Order on Summary Judgment.

           20                   RELATED ACTIONS: SETTLEMENT NEGOTIATIONS
           21          29.     Over the years, the Parties have periodically engaged in settlement negotiations.

           22   On April 27, 2016, the Parties participated in a settlement conference with Magistrate Judge

           23   Corley. Further discussions between the Parties and Magistrate Judge Corley took place on

           24   May 6, 2016, and May 9, 2016. Despite their good-faith efforts, the Parties were unable to find

           25   common ground, with Wells Fargo maintaining that it would not be prepared to enter into a

           26   meaningful class wide settlement until after summary judgment. Once the Court issued its
           27   ruling on summary judgment, the Parties restarted settlement discussions. After numerous

           28   discussions and proposals, the Parties ultimately agreed to the proposed Settlement.

                                                                 8        Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 10 of 12



            1          30.     Plaintiffs have each entered into settlements with Wells Fargo relating to their

            2   individual, non-class claims, including their individual breach of contract claims, which they

            3   continued to pursue after certification of the contract claim was denied. Mr. Corvello made

            4   three TPP payments of approximately $6,600 in 2010, and thereafter was denied a permanent

            5   HAMP modification and lost his home at foreclosure. In connection with the settlement of his

            6   individual claims, including for breach of contract (which was not certified for class

            7   treatment), Mr. Corvello will receive a refund of his TPP payments. In exchange, Mr. Corvello

            8   (unlike absent Class Members) will provide Wells Fargo with a complete release of all claims,

            9   known and unknown, that he could assert against Wells Fargo and its affiliated people and

           10   entities, including the investors of his loan. In addition, Class Counsel will receive amounts for

           11   their time and expenses approximated as not devoted solely to the Certified Claims. The Class

           12   settlement is not contingent on these individual settlements. Instead, the individual settlements

           13   will only go into effect if the Class Settlement is approved. Copies of those agreements are

           14   attached hereto as Exhibits C and D.

           15          31.     All totaled, under the three settlements combined Class Counsel will receive

           16   significantly less than their actual lodestar incurred in this litigation. Specifically, after

           17   accounting for expense reimbursements, Wells Fargo agreed to pay a total of roughly $2.836

           18   million for $3.05 million in lodestar accrued by Class Counsel as of the date that the parties

           19   entered into the agreements in principal. This represents a negative lodestar multiplier of 0.93

           20   as of that date, but the actual negative multiplier will ultimately be less than .90 based on

           21   additional time and expenses that will accrue between through the effective dates of the

           22   settlements.

           23          32.     Every aspect of this Settlement was heavily negotiated, including each aspect of

           24   the Settlement Agreement and Exhibits, the Release, and the Class Notice. As detailed in the

           25   concurrent memorandum of points and authorities, the Class Notice and Settlement

           26   administration plans are robust and easily satisfy all due process requirements. Under the
           27   Settlement, Class Notice and Settlement Payments will be mailed directly to Class Members

           28   who do not have to submit a claim to receive the payments. The Class Notices are in easily

                                                                9         Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 11 of 12



            1   understandable language, explain the Settlement and Class Member’s rights, and were

            2   modeled after the Federal Judicial Center’s exemplar notices. Class Notice and settlement

            3   administration is estimated to cost $42,000 or more and will be paid by Wells Fargo separate

            4   and apart from the Settlement Payments.

            5           33.     I have significant experience leading consumer protection class action lawsuits,

            6   including consumer protection actions involving retail lending and residential mortgage fraud.

            7   I have been appointed lead counsel by numerous state and federal courts, including in complex

            8   and multi-district litigation involving false advertising claims brought on behalf of consumers.

            9   I have also tried, either as assisting counsel or co-counsel, class actions and am responsible for

           10   a number of appeals resulting in consumer protection decisions relevant to this case, including

           11   the Corvello opinion itself. In connection with the successful motion for class certification in

           12   this Litigation, I was appointed Class Counsel by the Court. Given the risks and potential

           13   benefits of continued Litigation, I believe the Settlement is fair, reasonable and adequate, and

           14   in the best interests of the Class.

           15           I declare under penalty of perjury under the laws of the United States of America that

           16   the foregoing is true and correct. Executed on June 30, 2017, at San Diego, California.

           17

           18                                                  By:            s/ Timothy G. Blood
                                                                            TIMOTHY G. BLOOD
           19

           20

           21

           22

           23

           24

           25

           26
           27

           28

                                                               10         Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
                Case 3:10-cv-05072-VC Document 214-1 Filed 06/30/17 Page 12 of 12



            1                                  CERTIFICATE OF SERVICE
            2          I hereby certify that on June 30, 2017, I electronically filed the foregoing with the

            3   Clerk of the Court using the CM/ECF system which will send notification of such filing to the

            4   e-mail addresses denoted on the Electronic Mail Notice List, and I hereby certify that I have

            5   mailed the foregoing document or paper via the United States Postal Service to the non-

            6   CM/ECF participants indicated on the Electronic Mail Notice List.

            7          I certify under penalty of perjury under the laws of the United States of America that

            8   the foregoing is true and correct. Executed on June 30, 2017.

            9
                                                                           s/ Timothy G. Blood
           10                                                             TIMOTHY G. BLOOD
           11                                                BLOOD HURST & O’REARDON, LLP
                                                             701 B Street, Suite 1700
           12                                                San Diego, CA 92101
                                                             Telephone: 619/338-1100
           13                                                619/338-1101 (fax)
                                                             tblood@bholaw.com
           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26
           27

           28

                                                              11          Case No. 3:10-cv-05072-VC
                                                                          Case No. 3:11-cv-03884-VC
00122736          BLOOD DECL ISO MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
